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                               UNITED STATES DISTRICT COURT
                                                                       APR 2 2 2019
                             CENTRAI.DISTRICT OF CALIFORNIA                          r



Notorious B.I.G. LLC, a                                CASE NO. 19-cv-1946JAK(KSx)
Delaware limited liability company
            Plaintiff,                                 COUNTERCLAIMS            ?`~t,

   vs.                                              1.DECLARATORY JUDGEMENT
                                                    2.. DEFAMATION
Yes. Snowboards, Nidecker Group,                    3. UNFAIR COMPETION BASED ON
Chi Modu, an individual,                             MALICOUS LAWSUIT
           Defendants,                              4. INTENTIONAL INTERFERENCE
                                                     PROSPECTIVE ECONOMIC
                                                     ADVANTAGE
                                                    5. INTENTIONAL INTERFERENCE
                                                     WITH CONTRACT RELATIONSHIP
                                                    6. INTENTIONAL INFLICTION OF
                                                     EMOTIONAL DISTRESS




CHI MODUS,COUNTERCLAIMS AND
  SUMMARY OF ACTIONS
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                                   COUNTERCLAIMS

                                      Statement of Facts

    1. Defendant/Counterclaim plaintiff Chi Modu("CHI")is a world renowned
       photographer as acclaimed by global publications including not limited too: Paper
       Magazine, BBC,GQ Brazil, HypeBeast, Amuse/Vice, High Snobiety and more
    2. World Renowned Hip Hop artist made the following statements about CHI in a
       recent magazine article:

   WWD: What did you think of Chi when you first met him? Snooty Do~~:

   I just knew he had done great work and we clicked from the beginning. At the same
   time I was young so I wasn't really familiar with cameras and every cameraman I met
   was different. By him being from the East Coast and having pictures ofthe artists that I
   really respected and loved, it made me automatically gel with him and want to be a part
   of his resume. Early on I didn't know it'd be classic like this, but just knowing he was
   doing s—t with the people that I really respected and loved and the way it looked in the
   pictures from Ice Cube to EPMD to whomever, made me want to do pictures with him.
   That was around the time you would look and see who was the photographer, who was
   the man behind it, so you could see who he was and you could connect with him.
   That's why a lot of photographers and directors got used over and over, because the
   word got out they were great at what they did and we were a community that was a
   brotherhood. So if his s—t was dope, we would look and say,"I want my s—t to be dope,
   who did it? Chi Modu. Who is that? Let me reach out to him." - WWD/Snooty Do~~

    3. Defendant/CounterClaim Plaintiff Chi Modu, has held a Federally Registered
       Copyright for the image of the subject in question since 2006. Copyright Number
       is(Vau690-814)
    4. BIG through its members and agents acting on its behalf including Voletta
       Wallace, Faith Evans, Rick Barlow, Wayne Barrow and Tom Bennett are aware of
       this copyright having licensed the copyrighted material from CHI on multiple
       occasions, with the last contract ended in December 2018.
    5. BIG through its members and agents including Voletta Wallace, Faith Evans, Rick
       Barlow, Wayne Barrow and Tom Bennett tried to extort the CHI by offering a
       unfair sum of money to license the copyrighted photo compared to the revenue
       they were set to gain based off CHI'S copyrighted photos.
    6. CHI tried to negotiate a more equitable and fair deal for his own Material
       Work(copyrighted image with the subject) with BIG and its members and agents
       acting on its behalf including Voletta Wallace, Faith Evans, Rick Barlow, Wayne
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       Barrow and Tom Bennett. When negotiations broke down BIG through its
       members and agents commenced this action.
    7. BIG through its members and agents acting on its behalf including Voletta Wallace,
       Faith Evans, Rick Barlow, Wayne Barrow and Tom Bennett out of retaliation for
       CHI asking for a more equitable deal filed a malicious and baseless lawsuit,
       defamed CHI and ensure that he would not get any more work or projects not only
       for the photograph in question but to the Defendant's entire catalog of copyrighted
       works.
    8. Due to BIG's wanton, illegal, vindictive and baseless conduct CHI has suffered
       severe economic and emotional harm.
    9. Defendant counterclaim plaintiff seeks equitable relief, punitive damages and
       attorney fees. Based on applicable statutes.




                  COUNTERCLAIM 1-DECLARATORY JUDGEMENT

    1. CHI seeks a declaration that CHI has the right to "commercially exploit" his own
       work which is the very foundation of Copyright Law
    2. CHI requests Declaratory judgment on Plaintiffs entire complaint based on 17
       U.S. Code 301 § 106 (2). Defendant has the exclusive right to prepare "derivative
       works" based upon his copyright.
    3. CHI's federally protected exclusive copyright preempts BIG's claims on its entire
       complaint.
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                            COUNTERCLAIM 1-DEFAMATION


    1. CHI seeks relief based on California Civil Code §§ 45 and California Civil Code
       § 46.
    2. BIG has made numerous factual statements to other persons, some of which have
       been filed as factual statements in the instant Complaint, alleging numerous actions
       allegedly undertaken or conducted by CHI.
    3. Among the statements alleged by BIG' were that CHI was a "usurper and parasite
       that attempts to create profits through no WORK of his own", painted the picture
       that CHI was a thief stating he "intentionally and in bad faith gained access to a
       photograph." A photograph that BIG knew was CHPs copyrighted work.
    4. Not more than one year prior to the date hereof, Plaintiffs published and stated
       defamatory and false statements of fact injuring CHI with the required degree of
       fault.
    5. BIG's allegations are knowingly false.
    6. BIG's statements and assertions are slanderous as a matter of law in that the
       statements were intended to and did(1) cause injury to CHI's reputation,(2)
       Expose him to public hatred, ridicule, shame or disgrace, and(3) affected him
       adversely in his trade and business.
    7. BIG published these statements to others.
    8. CHI has been damaged by an amount to be decided by a jury.

           COUNTERCLAIM 3-UNFAIR COMPETITION BASED ON MALICOUS
                                  LAWS

    1. CHI seeks relief based on California Unfair Competition Law Business and
       Professions Code §§ 17200, unfair competition (1) unlawful business act or practice
       and(2) unfair business act or practice.
    2. CHI is a competitor of BIG and CHI and BIG operate in the same market.
    3. BIG filed its instant lawsuit in bad faith and without probable cause. BIG's lawsuit
       has no basis and BIG knew its lawsuit had no basis.
    4. BIG is aware that CHI is the valid copyright holder for the photograph in question.
    5. BIG through its members and agents acting on its behalf, including Voletta Wallace,
       Faith Evans, Rick Barlow, Wayne Barrow and Tom Bennett filed the lawsuit due to
       CHI, not accepting an extorting offer to license CHI's copyrighted material to BIG.
    6. Only after, CHI's denial of extorting offer did BIG file the malicious law suit.
    7. BIG filed its lawsuit maliciously for the purpose of harassing and injuring CHI
    8. CHI has suffered both financial losses and expectant f'mancial losses due to this
       lawsuit.
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     COUNTERCLAIM 4- INTENTIONAL INTERFERENCE WITH PROSPECTIVE
                       ECONOMIC ADVANTAGE


      1. CHI seeks relief based on California Unfair Competition Law Business and
         Professions Code §§ 17200, unfair competition(1) unlawful business act or
         practice and (2) unfair business act or practice.
      2. BIG through their illegal and bad faith conduct have interfered with an economic
         relationship between CHI and other named Defendants.
      3. BIG had knowledge of this relarionship. BIG through its members and agents,
         including Violetta Wallace, Faith Evans, Rick Barlow, Wayne Barrow and Tom
         Bennett knew of this relationship for almost a full year before bringing their
         malicious lawsuit.
      4. BIG conducted multiple wrongful acts to CHI. BIG defamed CHI and used a
         malicious lawsuit to prevent him from using his exclusive copyright rights.
      5. BIG had intent to disrupt the economic relationship. BIG used these acts to
         prevent CHI and other named Defendants from conducting any business both in
         the US and Globally.
      6. Due to BIG's actions there has been a disruption to CHI's relationship. Because
         of BIG's bad acts, CHI and other named Defendants have stopped their business
         agreement and their relationship has become fractured.
      7. CHI has suffered severe harm financially and emotionally due to BIG's bad acts.
      8. BIG's malicious lawsuit and subsequent Defamation are the root cause of CHI's
         harm




               COUNTERCLAIM 5-INTENTIONAL INTERFERENCE WITH A
                        CONTRACTUAL RELATIONSHIP

      1. CHI seeks relief based on California Unfair Competition Law Business and
         Professions Code §§ 17200, unfair competition(1) unlawful business act or
         practice and (2)unfair business act or practice.
      2. A contract existed between the CHI and other named Defendants. CHI and
         named Defendants had an ongoing business relationship that was mutually
         beneficial t~ both parties.
      3. BIG knew about the contract. BIG,through its members and agents, Voletta
         Wallace, Faith Evans, Rick Barlow, Wayne Barrow and Tom Bennett knew
         about this contract for almost a year.
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      4. BIG engaged in conduct that prevented or hindered performance of the contract.
         By filing the malicious and baseless lawsuit BIG hindered the performance of
         the contract.
      5. BIG intended this result, or knew it was likely. BIG made statements both on the
         complaint and to CHI that the goal of the malicious lawsuit was to harm CHI
      6. BIG's actions have harmed CHI. CHI has been harmed by this existing contract
         being stalled and questioned due to BIG's wanton and vicious acts.
      7. BIG's conduct substantially caused this harm. BIG's conduct has caused
         financial and emotional harm to the Defendants both domestically and globally.



           COUNTERCLAIM 7- INTENTIONAL INFLICTION OF EMOTIONAL
                                DISTRESS

      1. BIG's frivolous and baseless lawsuit with the sole intent of harming and
         defaming CHI is outrageous. BIG and its members and agents including
         Voletta Wallace, Faith Evans, Rick Barlow, Wayne Barrow and Tom Bennett
         have taken actions that exceeds all bounds usually tolerated in a civilized society.
      2. BIG has intended to cause or recklessly disregarded the probability of causing
         emotional distress. Due to BIG's wanton and reckless actions, CHI has suffered
         emotional harm. CHI is faced with ridicule due to BIG's wanton conduct. CHI
         has to field questions from people asking if he is "a usurper and a parasite". CHI
         has suffered severe emotional harm.
      3. CHI has suffered severe emotional distress due to BIG's tactics. The Defendant
         cannot afford his livelihood based on the damage to his reputation and the severe
         defamation on his character.
      4. The BIG's wanton conduct and malicious lawsuit are the sole cause of CHI's
         Emotional Distress.
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                                        PRAYER FOR RELIEF

      WHEREFORE,Defendants/counterclaim plaintiff, respectfully request judgment
      against Plaintiffs, and their respective partners, agents, and employees, and any and all
      persons in active concert or participation with Defendants, and each of their heirs,
      executors, administrators, successors, licensees, assigns, subsidiaries, parents, affiliates,
      divisions, co-venturers, partners, officers, directors, employees, agents shareholders,
      managers, representatives, consultants and any and all other persons, corporations or
      other entities acting under the supervision, direction, control or on behalf of any of the
      foregoing as follows:

      1. Preliminarily and permanently enjoining Plaintiffs, and their respective partners, agents,
      and employees, and any and all other persons in active
      concert or participation with Defendants, and each of their heirs, executors, administrators,
      successors, licensees, assigns, subsidiaries, parents, affiliates,
      divisions, co-venturers, partners, officers, directors, employees, agents, shareholders,
      managers, representatives, consultants and any and all other persons, corporations or other
      entities acting under the supervision, direction, control or on behalf of any of
      the foregoing from (a) continuing this malicious and baseless lawsuit(b)a public rebuttal of
      defamatory comment(c) Written admission that Defendant Chi Modu can use his material
      work in any way his federally protected rights allow without threat of litigation.
      2. Awarding all damages requested in the Complaint including direct, indirect,
      compensatory and incidental damages in the amount of $10,000,000.00.

      3. Awarding pre- and postjudgment interest;
      4. Awarding attorneys' fees, costs, and
      disbursements in this action; and
      5. Awarding such other relief as the Court deems
      just and proper.
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                                   PROOF OF SERVICE

           I am employed in the County ofEssex, State of New Jersey. I am over the
     age of 18 and not a party to the within action. My business address is 536 Broad
     Street, Newark, New Jersey 07102.

           On April 19, 2019,I served the foregoing documents described as:

           • Counter Claim Case No. CV 19-1946 JAK(KSx)

     on the parties in this action by serving:

    Staci Jennifer Riordan Esq.                      Attorneys for Plaintiff
    IVIXON PEABODY LLP                               NOTORIOUS B.I.G. LLC,
    One California Plaza
    300 S. Grand Avenue, Suite 4100 Los
    Angeles, California 90071

    (E) sriordan@nixonpeabody.com




     Q By Mail: As follows: I am "readily familiar" with this firm's practice of
       collection and processing correspondence for mailing. Pursuant to that practice
       the mail is stamped with sufficient postage and then provided to the U.S. postal
       service on that same day in Los Angeles, California..

    By Fedex Overnight: I caused the envelopes)to be delivered to the UPS drop off
    office located at 338 Palisade Ave., Jersey City, NJ 07306
        XX for delivery on the next-business-day basis to the offices ofthe
        addressee(s).




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Q By Email Electronic Transmission: I caused the documents to be sent to the
  persons) at the email address(es). I did not receive, within a reasonable time
  after the transmission, any electronic message or other indication that the
  transmission was incomplete or unsuccessful.

       I declare under penalty of perjury under the laws ofthe State of California
that the foregoing is true and correct. Executed on April 11, 2019 at Jersey City,
New Jersey




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